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AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 1



                                    UNITED STATES DISTRICT COURT
                                         Western District of Oklahoma
                                                         )
             UNITED STATES OF AMERICA                    )    JUDGMENT IN A CRIMINAL CASE
                           v.                            )
                                                         )    Case Number:         CR-18-00029-1-SLP
             NAIF ABDULAZIZ M ALFALLAJ                   )
               a/k/a Al-Muthana Al-Najdi                 )    USM Number:          32064-064
                                                         )
                                                              William H Campbell
                                                         )    Defendant’s Attorney
                                                         )
THE DEFENDANT:
     pleaded guilty to count(s) 1 and 3 of the Indictment.

     pleaded nolo contendere to count(s)
     which was accepted by the court.
     was found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section               Nature of Offense                                                         Offense Ended             Count

18 U.S.C. § 1546(a)           Visa fraud                                                                    2/6/2018                 1
18 U.S.C. § 1001(a)(2)        False statement involving international terrorism                            12/4/2017                 3



      The defendant is sentenced as provided in pages 2 through             5        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has been found not guilty on count(s)

     Count(s) 2 of the Indictment                                                    is     are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      October 3, 2019
                                                                      Date of Imposition of Judgment




                                                                      October 3, 2019
                                                                      Date Signed
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AO 245B (Rev. 09/19) Judgment in Criminal Case
                    Sheet 2 — Imprisonment

                                                                                                 Judgment — Page          2       of   5
DEFENDANT:                    Naif Abdulaziz M Alfallaj, a/k/a Al-Muthana Al-Najdi
CASE NUMBER:                  CR-18-00029-1-SLP

                                                            IMPRISONMENT
        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
        This sentence consists of 120 months as to Count 1 and 96 months as to Count 3, with 31 months of Count 3
        to run consecutively to Count 1, for a total term of 151 months.


           The court makes the following recommendations to the Bureau of Prisons:

         It is recommended the defendant participate in the Federal Bureau of Prisons Inmate Financial Responsibility Program at a rate
         determined by Bureau of Prisons staff in accordance with the program.




          The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:
               at                                    a.m.          p.m.     on                                                .
               as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               By 2 p.m. on
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




        Defendant delivered
                                                                                          to
        on

at                                                 , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL


                                                                           By

                                                                                 DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
                    Sheet 3 — Supervised Release

                                                                                   Judgment—Page   3   of   5
DEFENDANT:               Naif Abdulaziz M Alfallaj, a/k/a Al-Muthana Al-Najdi
CASE NUMBER:             CR-18-00029-1-SLP

                                                   SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
The court does not impose a term of supervised release.
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 AO 245B (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 5 — Criminal Monetary Penalties

                                                                                                      Judgment — Page         4       of      5
  DEFENDANT:                     Naif Abdulaziz M Alfallaj, a/k/a Al-Muthana Al-Najdi
  CASE NUMBER:                   CR-18-00029-1-SLP
                                              CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                   Assessment               Restitution             Fine                          AVAA Assessment*                JVTA Assessment**
 TOTALS          $ 200.00               $                       $                             $                           $



      The determination of restitution is deferred until              . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                              Total Loss**                       Restitution Ordered                      Priority or Percentage




 TOTALS                             $                                      $
    Restitution amount ordered pursuant to plea agreement $

    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
    before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
    Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         the interest requirement is waived for the            fine            restitution.

         the interest requirement for the            fine      restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.




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                  Sheet 6 — Schedule of Payments

                                                                                                 Judgment — Page      5     of       5
DEFENDANT:              Naif Abdulaziz M Alfallaj, a/k/a Al-Muthana Al-Najdi
CASE NUMBER:            CR-18-00029-1-SLP
                                               SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A        Lump sum payment of $        200.00             due immediately, balance due

               not later than                                , or
               in accordance with           C,          D,           E, or         F below; or

B        Payment to begin immediately (may be combined with                              C,           D, or          F below); or

C        Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                       (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or

D        Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from imprisonment to
         term of supervision; or

E        Payment during the term of supervised release will commence within             (e.g., 30 or 60 days) after release
                                                                                       f
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
         time; or
F        Special instructions regarding the payment of criminal monetary penalties:
      If restitution is not paid immediately, the defendant shall make payments of 10% of the defendant’s quarterly earnings
      during the term of imprisonment.

      After release from confinement, if restitution is not paid immediately, the defendant shall make payments of the greater
      of $______ per month or 10% of defendant’s gross monthly income, as directed by the probation officer. Payments are
      to commence not later than 30 days after release from confinement.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be paid through the United States Court Clerk for
the Western District of Oklahoma, 200 N.W. 4th Street, Oklahoma City, Oklahoma 73102.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
    Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                              Joint and Several               Corresponding Payee,
       (including defendant number)                    Total Amount                       Amount                         if appropriate



     The defendant shall pay the cost of prosecution.
     The defendant shall pay the following court cost(s):
     The defendant shall forfeit the defendant’s interest in the following property to the United States:
     All right, title, and interest in the assets listed in the Preliminary Order of Forfeiture dated ______ (doc. no. ___).

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
including cost of prosecution and court costs.
